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                                                             GLERK,U.S DISTRICT COURT
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                                                                 --      v--NEV
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                       U NITED STATES D ISTRIC T CO U RT
                                   D ISTRIC T O F N EV AD A
UNITED STATES OF AM ERICA,                     )
                                               )
                      Plaintiff,               )
                                               )
                                               )        2:09-CR-l73-PMP (PAL)
                                               )
HENRY MANTILLA,                                )
                                               )
                      Defendant.               )
                         FINAL ORDER OF FORFEITURE AS TO
                            DEFENDANT H ENRY M ANTILLA

        On M ay 7,2010,thisCourtentered a Prclim inary OrderofForfeiturepursuantto Title 17,

UnitedStatesCode,Section506(b);Title18,UnitedStatesCode,Section981(a)(l)(C)andTitle28,
United StatesCode,Section2461(c);Title 18,United State'
                                                      sCode,Section 2323(b);andTitle21,
UnitedStatcsCodesSection853 forfeitingpropertyofdefendantHENRY M AN TILLA totheUnited
States ofA m erica;
        IT IS HEREBY ORDERED,ADJUDGED,AN D DECREED pursuantto Fed.R.Crim . P

32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderofForfeiture
is finalasto defendmatH EN RY M AN TILLA .
        DATEDthisJJi dayof                              ,010.

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